                  Case 1:21-cr-00078-JLT-SKO Document 34 Filed 04/19/21 Page 1 of 1
                                    IN THE UNITED STATES DISTRICT COURT
                                      EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,

                              Plaintiff,

                        v.                               CASE NO: 1:21-CR-00078-NONE-SKO

ADRIAN RODRIGUEZ CARDENAS,

                              Defendant.

                               APPLICATION FOR WRIT OF HABEAS CORPUS
             The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                        ☒ Ad Prosequendum                                   ☐ Ad Testificandum
 Name of Detainee: Adrian Rodriguez Cardenas (LAR 0563150)
 Detained at       Lerdo Justice Facility
 Detainee is:      a.)    ☒ charged in this district by: ☒ Indictment ☐ Information ☐ Complaint
                             charging detainee with: 21 U.S.C. §§ 841(a)(1), 846
               or b.)     ☐ a witness not otherwise available by ordinary process of the Court

 Detainee will:         a.)     ☒ return to the custody of detaining facility upon termination of proceedings
                   or   b.)     ☐ be retained in federal custody until final disposition of federal charges, as a sentence
                                 is currently being served at the detaining facility

    Appearance is necessary APRIL 21, 2021, 1:00PM (SKO) in the Eastern District of California (See ECF No.28).

                        Signature:                              /s/ CHRISTOPHER D. BAKER
                        Printed Name & Phone No:                AUSA Christopher D. Baker (559-290-0530)
                        Attorney of Record for:                 United States of America

                                         WRIT OF HABEAS CORPUS
                          ☒ Ad Prosequendum                 ☐ Ad Testificandum

         The above application is granted and the above-named custodian, as well as any Federal Agent for this district, is
hereby ORDERED to produce the named detainee, on April 21, 2021, at 1:00pm, and any further proceedings to be had
in this cause, and at the conclusion of said proceedings to return said detainee to the above-named custodian.


 Dated:     April 16, 2021
                                                            Honorable Sheila K. Oberto
                                                            U.S. MAGISTRATE JUDGE
Please provide the following, if known:
 AKA(s)                                                                                  ☒Male     ☐Female
 Booking or CDC #:       LAR 0563150                                                     DOB:      June 9, 2000
 Facility Address:       17801 Industrial Farm Rd. Bakersfield                           Race:     Hispanic
 Facility Phone:         (661) 391-3100                                                  FBI#:     T5FF4J06L

                                                RETURN OF SERVICE

 Executed on:
                                                            (signature)
